                          Case 4:25-cv-01024-MWB         Document 7     Filed 06/18/25     Page 1 of 21



                                              IN THE UNITED STATES DISTRICT COURT
                                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                               HONORABLE LORI HACKENBERG                      :
                               c/o The Beasley Firm, LLC                      :
                               1125 Walnut Street                             :
                               Philadelphia, PA 19107                         :
                                                         Plaintiff,           :    NO: 4:25-cv-01024 MWB
                                     v.                                       :
                                                                              :
                               DANIEL BOZIN                                   :          JURY TRIAL OF SIX
                               9663 Santa Monica Blvd                         :             DEMANDED
                               #539                                           :
                               Beverly Hills, CA 90210                        :
                                                                              :       PLAINTIFF’S
                               and                                            :    AMENDED COMPLAINT
                                                                              :
                               BOZIN MEDIA GROUP, LLC, d/b/a                  :
                               BOZIN MEDIA                                    :
                               c/o Daniel Bozin, Registered Agent             :
                               3054 Village Green Drive                       :
                               Westlake, Ohio 44145-4582                      :
                                                                              :
                               and                                            :
                                                                              :
                               BOZIN HOLDINGS, LLC                            :
                               c/o Daniel Bozin, Registered Agent             :
                               3054 Village Green Drive                       :
                               Westlake, Ohio 44145-4582                      :
                                                                              :
                                                               Defendants.    :

                          I.         INTRODUCTION

                                     1.   This lawsuit is due to the defendants’ malicious and pathologically

                          escalating attack on the President Judge of this Commonwealth’s Union and Snyder

                          Counties for signing a bench warrant against him.

                                     2.   Defendant Bozin was charged in Snyder County, Pennsylvania with multiple

                          crimes against citizens of this Commonwealth, and he has refused to attend any of the

                          court proceedings.

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                                3.     After being duly served with process, Bozin refused to appear, making

                          specious and false claims about service of process to avoid criminal accountability, even

                          though well aware of the hearing dates.

                                4.     Due to Bozin’s intentional failure to appear, Judge Hackenberg signed the

                          bench warrant against defendant Bozin. He has still refused to appear at the Snyder

                          County Courthouse to face the charges brought against him.

                                5.     Since that time, Bozin has embarked on a lie-filled attack upon a respected

                          Jurist, demanding the dismissal of the charges against him and, as he has stated in audio

                          messages left by him on the Courthouse’s phone system, to “destroy” Judge Hackenberg.

                                6.     Bozin’s malicious behavior has caused him to manipulate a grieving mother

                          and her son’s unfortunate death to falsely blame Judge Hackenberg for the death (which

                          he has admitted he knows is not true, in recordings left on the Courthouse phone system),

                          while simultaneously attempting to blackmail Snyder County, the court and its judges in

                          an attempt to force them to withdraw the criminal charges against him.

                                7.     Having failed with his threats to have the criminal charges removed, Bozin’s

                          knowingly false and malicious attacks increased.         Bozin began accusing Judge

                          Hackenberg of corruption, including the hashtag #cashforkids, and causing to be

                          published a “change.org” petition to impeach Judge Hackenberg which has had

                          thousands of views, based upon Bozin’s lies, claiming that Judge Hackenberg is receiving

                          illegal payments, akin to the Luzerne County scandal in which judges of that court were

                          imprisoned for taking kickbacks for imprisoning children in for-profit prisons.

                                8.     In a further attempt to harm Judge Hackenberg, Bozin has fabricated claims

                          that Judge Hackenberg’s minor daughter has underage drinking parties at their house –

                          which Bozin knows is categorically false – as he pulled stock photos of the Judge’s home
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                          from a realtor website, and photos from a bridesmaid weekend at a separate location, to

                          make it appear as though there was underage drinking at their home.

                                   9.       Bozin and his “media” companies purposely constructed their malicious

                          campaign to target the President Judge of Union and Snyder Counties, including causing

                          articles to be placed in Snyder County media, and hiring a banner plane to defame Judge

                          Hackenberg.

                                   10.      These defamatory attacks arise out of and 1 relate to issues specific to the

                          Commonwealth of Pennsylvania, namely false claims about a Pennsylvania jurist, issues

                          of Pennsylvania law, as well as repeated contact into Pennsylvania for the purposes of

                          destroying Judge Hackenberg’s career and reputation by placing her in a false light that

                          would be offensive to any citizen.

                                   11.      Bozin and his business entities involved in this lawsuit specifically targeted

                          their false and malicious attacks for distribution and publication in Snyder and Union

                          counties so as to maximize the impact on Judge Hackenberg and stain her reputation as

                          a Pennsylvania jurist.

                                   12.      The defendants’ knowingly false and intentional targeting of Judge

                          Hackenberg is done solely 2 because she signed the Bench Warrant for Bozin’s failure to

                          appear in the criminal matter against him presently pending in Snyder County.




                          1 While it is plain that the disjunctive (or) is the appropriate test for jurisdiction, in this case, it both “arises

                          out of and relates to” issues for which this Honorable Court has jurisdiction over this lawsuit. Given the
                          facts, the Bozin defendants have “purposefully availed themselves of the privilege of conducting activities
                          within the forum State.” Further, these claims “ … arise out of or relate to the defendant’s contacts” with
                          the forum (Pennsylvania). Ford Motor Co. v. Montana Eighth Judicial District Court, 592 U.S. ___ (2021).
                          Given the text, tenor and subject basis for this article, there is plainly a strong “relationship among the
                          defendant, the forum, and the litigation.” The same is true in this lawsuit.

                          2 Bozin, in one of many rambling voice messages left on the Snyder County Courthouse phone system, this

                          one at 1:04pm on 10 June 2025, now claims that it was not just the bench warrant, but also a search warrant
                          that Judge Hackenberg signed.
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                                 13.    The defendants’ malicious objectives have, regrettably, been met and Judge

                          Hackenberg has suffered significant and permanent damages for the false light into which

                          the defendants’ defamatory actions have placed her.

                                 14.    Aside from a clear disregard for due diligence, Bozin’s lies, delusions and

                          manipulation of others who have appeared before Judge Hackenberg is a malicious attack

                          upon the character of a dedicated public servant.

                                 15.    The false light into which Judge Hackenberg has been placed by these

                          defendants has also caused significant professional, personal, and emotional damages

                          and harm to her.

                                 16.    Due to Bozin’s revenge-driven lies and his smear campaign against Judge

                          Hackenberg, she is now forever seen as corrupt, causing the death of a child, receiving

                          bribes, and condoning underage drinking in her home, as intended by these defendants.

                          This lawsuit now follows.

                          II.    JURISDICTION AND VENUE

                                 17.    This Court has subject matter jurisdiction in this case pursuant to 28 U.S.C.

                          § 1332. The Defendants are citizens of states other than which the Plaintiff is a citizen.

                          The amount in controversy substantially exceeds the requirement for Federal Diversity

                          Jurisdiction and guarantees a jury trial, exclusive of interest and costs.

                                 18.    Venue is proper pursuant to 28 U.S.C. § 1391 because all Defendants are

                          subject to the Court’s personal jurisdiction with respect to the civil action in question. The

                          Defendants published their defamatory statements in Snyder and Union Counties,

                          Pennsylvania where they targeted their unlawful scheme.




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                          III.   PARTIES

                                 19.    Plaintiff, The Honorable Lori Hackenberg, is an individual, jurist, and

                          attorney in good standing, admitted in 2003 and first elected to the bench in 2011, and

                          elected to the Court of Common Pleas in 2021; she is also a citizen of the Commonwealth

                          of Pennsylvania.

                                 20.    Defendant Daniel Bozin was, at all relevant times, the publisher and creator

                          of the lies, fabrications, and malicious attacks on Judge Hackenberg to punish her for

                          signing the Bench Warrant for his failure to appear for his criminal matter in Snyder

                          County. Bozin is also the registered agent for the co-defendant “media” companies

                          involved in publishing the defamatory attacks on Judge Hackenberg at issue in this

                          lawsuit.

                                 21.    Defendant, Bozin Media Group, LLC, d/b/a Bozin Media, is an active, Ohio

                          limited liability company that claims to be a media entity through which Bozin publishes

                          his lies and attacks on Judge Hackenberg. Bozin is the registered agent for Bozin Media

                          Group, LLC.

                                 22.    Defendant, Bozin Holdings, LLC, is an active, Ohio limited liability

                          company that claims to be a media entity through which Bozin publishes his lies and

                          attacks on Judge Hackenberg. Bozin is the registered agent for Bozin Holdings, LLC.

                                 23.    The “Bozin defendants” are Bozin, Bozin Media Group, LLC, d/b/a Bozin

                          Media, and Bozin Holdings, LLC.

                          IV.    FACTS

                                 24.    On 20 November 2023, a criminal complaint was filed in Snyder County,

                          Pennsylvania against Defendant Bozin, charging him with criminal harassment and



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                          stalking of a Geisinger employee, 3 MDJ 17-3-03 (Snyder County Mag. District Court).

                          Bozin was served via certified and regular mail pursuant to 234 Pa. Code Rule 511. Bozin

                          failed to appear for his 7 December 2023 required fingerprinting and photographing, and

                          he also failed to appear for his preliminary hearing, scheduled to occur on 18 January

                          2024.

                                  25.     Bozin’s repeated flaunting of Pennsylvania’s criminal justice system

                          continued, and a Bench Warrant was issued on 1 February 2024; it was at this point that

                          this defendant and President Judge Hackenberg’s paths crossed, as Judge Hackenberg

                          signed the Bench Warrant against Bozin.

                                  26.     Bozin ignored this Bench Warrant and he also refused to appear for his

                          formal arraignment, scheduled to occur 29 April 2024.

                                  27.     In spite of these multiple transgressions of Pennsylvania’s criminal laws,

                          Judge Hackenberg did not issue a second Bench Warrant against Bozin.

                                  28.     At the same time, a sad, but all too common, custody dispute was before

                          Judge Hackenberg, captioned L.J.G. v. E.B., which at its core dealt with the custody

                          arrangements regarding a little boy, A.G., conceived during a short marriage.

                                  29.     The complexity of this custody dispute involved the father, an oncologist,

                          relocating due to work to Florida, and the mother, who divided her time between Israel

                          and central Pennsylvania. Ultimately, Judge Hackenberg ruled, and the appellate courts

                          affirmed, that the father would have primary custody.




                          3 As described in the Affidavit of Probable Cause, Bozin was seeking to become involved in the medical care

                          of a minor, including attempting to obtain the medical records of this minor for which he was not a parent
                          or legal guardian. As a result of this improper behavior, his access to the “mychart” at Geisinger was
                          revoked. That provoked Bozin’s wrath against the Geisinger employees, which resulted in the criminal
                          charges.
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                                 30.    The mother, E.B., was unhappy with the Court's decision and continued the

                          appeals pro se; even though Judge Hackenberg’s opinions were upheld by the appellate

                          courts, E.B. began to attack Judge Hackenberg with various false accusations, including

                          claims of antisemitism and bias, which the Superior Court specifically addressed in

                          footnote two of its 21 February 2024 opinion:




                                 31.    Tragically, on 2 March 2024, A.G. passed away from natural causes, having

                          suffered from severe gastrointestinal issues for which his father took him to the hospital.

                          A full investigation by the Polk County Sheriff’s office, including a discussion with E.B.,

                          who was living in Israel at the time, revealed that the father had kept E.B. abreast of A.G.’s

                          illness, and found no evidence of foul play.

                                 32.    The sheriff also noted the extreme trauma from which E.B. was suffering

                          that occasions parents when their children prematurely pass.

                                 33.    The Polk County investigation found no fault with this tragic death, defined

                          the cause of death as natural, and ended its investigation. No one has claimed that the

                          Polk County investigation was in any way flawed or biased.

                                 34.    E.B.’s suffering from the loss of her child continued, and Bozin saw this, and

                          E.B.’s dislike of Judge Hackenberg due to the nature of her rulings, as a Machiavellian




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                          method to manipulate E.B.’s unimaginable pain to attack Judge Hackenberg for her

                          signing the bench warrant against him.

                                  35.     Almost immediately after the 29 April 2024 arraignment, Bozin began

                          leaving voice messages at the Snyder County and Union County Courthouses, threatening

                          to use his “media” companies to “kill” Judge Hackenberg’s career if the criminal case

                          against him was not “dismissed, sealed and destroyed.”

                                  36.     As to using E.B., Bozin left another voice message for Judge Hackenberg in

                          which he acknowledged that Judge Hackenberg was not responsible for A.G.s passing: 4

                                  Then you have your daughter on Facebook trying to make comments,
                                  and she's more concerned about the color of her sweater than a kid dying.
                                  Now, I understand the mother is emotional.
                                  I also understand that you made a decision, and you can't
                                  foresee that, although the choice was that people are making about you
                                  Lori, in your own town, cunt is one word that was describing you.
                                  37.     Bozin’s acknowledgement and admissions in this voice message that E.B. is

                          emotional and that Judge Hackenberg could not foresee the tragic passing did not stop

                          him from using E.B., and amplifying her trauma, to create a campaign of lies that Judge

                          Hackenberg is responsible for A.G.’s death, and that she is taking bribes and kickbacks

                          that result in the death of children.

                                  38.     Bozin and his “media” entities, including “Bozin media” continued to use

                          E.B. and her tragedy to punish and defame Judge Hackenberg; Bozin’s despicable yet

                          calculated use of E.B.’s tragedy to create a smear and pressure campaign against Judge

                          Hackenberg escalated.




                          4 This did not stop Bozin from beginning his campaign of harassing Judge Hackenberg’s family using her

                          daughter as a tool to blackmail and punish her; even to this day, Bozin continues to falsely claim that Judge
                          Hackenberg is responsible for a child’s death. See paragraph 59.
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                                 39.    Bozin   has    and    continues    to   publish   #stopthehack     via   his

                          fightcorrputionpa.com website, and social media, again repeating the knowingly false

                          narrative that Judge Hackenberg is responsible for A.G.’s death, that Judge Hackenberg

                          is corrupt and takes bribes, and that she must be impeached.

                                 40.    Some of the outrageous and knowingly false claims Bozin makes against

                          Judge Hackenberg (while grifting donations) and obtaining signatures for his sham

                          petition is that the “tragic loss of six year old Adam Gitter reveals the dire consequences

                          of bias and corruption” in support of this petition with this URL:

                                 https://www.change.org/p/impeach-judge-lori-hackenberg-of-union-and-
                                 snyder-counties-pa

                                 41.    Bozin’s continuously published attacks on Judge Hackenberg exist today via

                          Bozin’s “fightcorruptionpa.com” website, and its facebook social media page, which is still

                          linked to and includes a “change.org” petition to impeach Judge Hackenberg which is

                          titled “Hackenberg is responsible to Adam’s death” and has bloody handprints and blood

                          spattering added to a photo of the judge. An image from that page is similar to this

                          facebook rendering calling Judge Hackenberg a “murderer”:




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                                 42.    Bozin and his “media” companies have also repeatedly published the

                          hashtags #kidsforcash, #courtcorruption, #endjudicialabuse, and #savekids, among

                          others, all linking back to the defamatory publications about Judge Hackenberg.

                                 43.    Bozin’s manipulation of the “Impeach Lori Hackenberg” social medial page

                          includes promoting these malicious images, claiming that Judge Hackenberg “auctions”

                          children for profit (akin to their #kindsforcash claims):




                                 This malicious and knowingly false publication, paid for by “Bozin Media Group”

                          is also propagated by these defendants:




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                                44.    The Bozin defendants’ reckless and malicious attacks on Judge Hackenberg

                          have escalated as his demands to have his criminal case dismissed have gone ignored.

                                45.    Bozin has increased these attacks on Judge Hackenberg’s minor daughter,

                          spreading the knowing falsity that Judge Hackenberg holds underage drinking parties at

                          her house. Bozin threatened in one of the voice messages to put an ad out to harm her

                          daughter:

                                And I hope your daughter is really, really clean. Like I said, my client does
                                go to school with her and I put her -- I'll put an ad out, and I'll pay $5,000
                                to the first kid that gets me a picture of her drinking or smoking pot, and
                                that'll be -- and I'll pay the 1,500 to put it in the front page, or get a full page
                                ad in the daily item. I got the money.

                                46.    Bozin also attempted to blackmail Judge Hackenberg with these fabricated

                          claims, claiming that he would make a video about her daughter, but “…it depends on how

                          everything works out” in his criminal case:

                                So you’re aware pictures were provided to me. It actually looks like it’s a
                                wedding celebration, specifically about a year and a half ago. She was 15, I
                                about this, and I’ve been very reluctant to do it.

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                                 But it depends on how everything works out in this case. I’ve been at it with
                                 the district attorney.

                                 47.    Bozin re-published his defamatory claims by hiring an aircraft with a

                          banner to fly over a Snyder County Night Out, which read “impeach Judge Hackenberg –

                          fight-corruptionpa.com” to re-publish and broadcast his admittedly false claims that

                          Judge Hackenberg is somehow responsible for A.G.s death, and that she is corrupt.

                                 48.    Bozin and his “media” companies have consistently acted recklessly and

                          with actual malice, using the trauma that will forever haunt E.B. as a malicious tool to

                          punish and destroy Judge Hackenberg for her involvement in his criminal matter.

                                 49.    Bozin knows that Judge Hackenberg’s rulings were proper, affirmed by the

                          Pennsylvania appellate courts, and that A.G.’s death was unforeseeable and not related in

                          any way to the rulings.

                                 50.    Yet, because the Snyder County court would not “dismiss, seal and destroy”

                          the proper criminal complaint against Bozin for his illegal actions at Geisinger, he has

                          used these knowingly false claims to destroy Judge Hackenberg’s career and reputation.

                                 51.    The defendants intentionally disregarded and withheld from their readers

                          the truth, as admitted by Bozin, that Judge Hackenberg had nothing to do with A.G.’s

                          death, and that her rulings were consistently upheld and appropriate.

                                 52.    Bozin’s intentional disregard and suppression of these undisputed and

                          critical facts that were known to him is not just negligence; it is an intentional and

                          malicious scheme and plot to smear Judge Hackenberg due to his rage and fury about

                          being held accountable for his crimes at Geisinger, and ensure all readers of his false

                          publications will believe that Judge Hackenberg is corrupt, places the lives of children at

                          risk, and accepts bribes and kickbacks.


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                                 53.     Bozin and his “media” companies’ escalation of these falsehoods were

                          published and republished in a malicious and reckless manner with the intent to harm

                          Judge Hackenberg’s reputation.

                                 54.     Given the absolute lack of any evidence supporting any of the allegations

                          against Judge Hackenberg, and the defendants’ intentional disregard and suppression of

                          critical facts that had revealed to them and would reveal to the average reader that Judge

                          Hackenberg was not corrupt, does not accept bribes, and was not responsible for A.G.’s

                          death, it is plain that this misconduct rises well beyond mere negligence and was done

                          with actual malice and with reckless disregard for the truth. See, e.g., Moore v. Vislosky,

                          240 Fed. Appx. 457, 469 (3d Cir. 2007) (“[defendant’s] awareness that there was no basis

                          for making the specific allegations of wrongdoing that were leveled against [plaintiffs],”

                          if proven, would establish actual malice).

                                 55.     After being notified this litigation was filed, Bozin continued to make false

                          claims against Judge Hackenberg. Bozin repeated the same intentionally false claims that

                          Judge Hackenberg is corrupt, engaged in misconduct, extorted him, and engaged in other

                          illicit conduct:




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                                56.    Bozin posted all the above referenced social media posts after being

                          informed of the instant lawsuit.

                                57.    Bozin was on notice that his claims were patently false yet continues to

                          publish and republish these false and malicious lies.

                                58.    Bozin started deleting his tweets to cover-up his false and malicious scheme.

                                59.    Even to this day, after Bozin had this lawsuit in hand, and in spite of Bozin’s

                          voice message admission in paragraph 36 that Judge Hackenberg “could not foresee” that

                          this poor child would develop a critical medical condition that took his life, Bozin is

                          maliciously weaponizing AI to fabricate news stories so they look like they are coming

                          from CNN to give his false and malicious lies legitimacy:




                          V.    THEORY OF LIABILITY/CAUSE OF ACTION

                                                        COUNT I
                                                      FALSE LIGHT
                                          JUDGE HACKENBERG v. BOZIN DEFENDANTS

                                60.    Plaintiff incorporates herein by reference each and every preceding
THE BEASLEY FIRM, LLC                                       18
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                          paragraph of this Complaint as if each were set forth fully herein.

                                 61.    Bozin and his “media” companies, on their own and also conspiring with

                          others, published the above-mentioned statements, innuendos and implications to

                          individuals in Snyder and Union Counties, and throughout Pennsylvania, who

                          understood the statements, innuendos and implications to place Judge Hackenberg in a

                          false light with the public.

                                 62.    The Bozin defendants used the knowingly false smears and claims identified

                          in this Complaint to punish a jurist who had the audacity to sign a bench warrant against

                          a man who has criminally harassed and stalked healthcare providers who stopped him

                          from manipulating a minor over whom he had no parental or other rights.

                                 63.    As described in detail above, Defendants’ false claims and publications

                          include, but are not limited to:

                                        a.      Judge Hackenberg is perpetrating a scheme akin to Kids for Cash;

                                        b.      Judge Hackenberg was previously engaged in a scheme to extort
                                                Bozin;

                                        c.      Judge Hackenberg is currently involved in a scheme to extort Bozin;

                                        d.      Judge Hackenberg was involved in a 2018 cover-up scheme with
                                                other members of Snyder County Government;

                                        e.      Judge Hackenberg is a murderer and responsible for the death of
                                                A.G.;

                                        f.      Judge Hackenberg is corrupt;

                                        g.      Judge Hackenberg has taken and is actively taking bribes.

                                 64.    The aforementioned false light in which Judge Hackenberg was placed

                          would be highly offensive to a reasonable person.

                                 65.    As described above, the Bozin defendants had knowledge of, or acted with

                          reckless disregard as to, the falsity of the matter they communicated and the false light in
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                          which Judge Hackenberg was placed.

                                    66.   The publications have caused Judge Hackenberg irreparable harm to her

                          reputation and career as well as causing mental suffering, shame, humiliation, physical

                          and emotional distress.

                                    67.   As a direct and proximate cause of the Defendants’ malicious, intentional,

                          or reckless conduct as set forth above, Judge Hackenberg is entitled to such damages that

                          will compensate for her injuries, including punitive damages to punish the Defendants

                          for their conduct, and deter them and others similarly situated from similar acts in the

                          future.

                                    68.   Judge Hackenberg seeks compensatory and punitive damages as a result of

                          the Bozin defendants’ deliberate, reckless and outrageous conduct set forth above.

                                    WHEREFORE, Plaintiff demands judgment against all defendants, jointly,

                           severally and/or individually, in an amount substantially in excess of the jurisdictional

                           limit, compensatory damages, punitive damages, attorneys’ fees, costs and interest,

                           together with any further relief which this Court deems just and appropriate under the

                           circumstances.

                                              NOTICE OF PRESERVATION OF EVIDENCE

                                    PLAINTIFF HEREBY DEMANDS AND REQUESTS THAT DEFENDANTS TAKE

                          NECESSARY ACTION TO ENSURE THE PRESERVATION OF ALL DOCUMENTS,

                          COMMUNICATIONS, WHETHER ELECTRONIC OR OTHERWISE, ITEMS AND

                          THINGS IN THE POSSESSION OR CONTROL OF ANY PARTY TO THIS ACTION, OR

                          ANY ENTITY OVER WHICH ANY PARTY TO THIS ACTION HAS CONTROL, OR FROM

                          WHOM ANY PARTY TO THIS ACTION HAS ACCESS TO, ANY DOCUMENTS, ITEMS,

                          OR THINGS WHICH MAY IN ANY MANNER BE RELEVANT TO OR RELATE TO THE
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                          SUBJECT MATTER OF THE CAUSES OF ACTION AND/OR THE ALLEGATIONS OF

                          THIS COMPLAINT.

                                                      DEMAND FOR JURY TRIAL

                                Plaintiff demands a jury trial of six.

                                                                    THE BEASLEY FIRM, LLC


                                                             BY:    /s/ James E. Beasley Jr.
                                                                    JAMES E. BEASLEY, JR.
                                                                    LANE R. JUBB
                                                                    LOUIS F. TUMOLO
                                                                    ANDREW M. MARTH
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                          Dated: 18 June 2025                       Attorneys for Plaintiff




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